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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

KIM BAIR : Civil Action NO. 4;08-0\/-00042
Plaintiff,
vs.

RAUCH, STRUM, ISRAEL &
HORNIK, S.C.

Defendant.

 

DISMISSAL

Plaintiff Kim Bair, by her attorney Ray Johnson, hereby dismisses the above-referenced

matter

Respectfully submitted,

      
 

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